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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                    HAMMOND DIVISION

AMINA M. CHANDLER,                           )
                                             )
                          Plaintiff,         )
                                             )
               v.                            )           CASE NO. 2:11-CV-00469-JTM-APR
                                             )
REGENCY BEAUTY INSTITUTE,                    )
                                             )
                          Defendant.         )

                       STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties

stipulate to the dismissal, with prejudice, of this lawsuit, with the parties to bear their own costs

and attorneys’ fees.

                                                   OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.



By: s/ Bryan K. Bullock (w/consent)                By:    s/ Brett E. Buhl

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